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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 AMERICAN ASSOCIATION OF
 COSMETOLOGY SCHOOLS et al.,

                       Plaintiffs,
                                                       No. 4:23-cv-01267-O
                v.

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                       Defendants.


                                     MOTION TO STRIKE

       Defendants the U.S. Department of Education (the “Department”) and Miguel Cardona in

his official capacity as Secretary of Education (collectively, “Defendants”) respectfully move to

strike material that was not part of the administrative record of this Administrative Procedure Act

(“APA”) case from the docket and exclude it from the Court’s consideration at summary judgment.

Plaintiffs American Association of Cosmetology Schools (“AACS”) and one of its members

(collectively, “AACS”) improperly included such material in their Appendix in support of their

Motion for Summary Judgment.

                                RELEVANT BACKGROUND

       On December 22, 2023, AACS, the original plaintiff in this case, filed suit under the APA

to challenge aspects of Final Regulations, 88 Fed. Reg. 70004 (Oct. 10, 2023), issued by Defendant

the U.S. Department of Education (the “Department”). See AACS Compl. [ECF 1] ¶¶ 162-207

(asserting three counts pursuant to various subsections of 5 U.S.C. § 706(2)). Pursuant to the

parties’ agreement, Defendants filed the Administrative Record for the Final Regulations on April
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30, 2024, together with the Department’s Certification that the Administrative Record it had

compiled was “a true, correct, and complete copy of the non-privileged documents that were

directly or indirectly considered when promulgating these rules, other than readily available legal

authorities.” See Defendants’ Notice & Certification at 1 [ECF 16, 16-1].

       The Court then issued a summary judgment briefing schedule, and pursuant to that

schedule, AACS filed its Motion for Summary Judgment on September 13, 2024. AACS Mot.

[ECF 28]. Pursuant to Local Rule 56.6, AACS also filed a 1657-page Appendix. [ECF 30.] Many

items listed in the Table of Contents (“TOC”) for the Appendix are excerpted from the

Administrative Record and include the associated Administrative Record citations. See AACS

App. TOC Exs. 1-36. AACS also included prior Department Final Regulations, id. Exs. 37-38;

publicly available material from the Department’s Federal Student Aid Handbook, id. Ex. Nos.

40-41; and declarations presumably submitted to support AACS’s standing, Exs. 43-44.

       AACS’s Appendix also includes three items that are not from the Administrative Record,

other publicly-available Department material, or solely related to AACS’s standing, but are cited

in its brief to support its argument that various aspects of the Final Regulations are arbitrary and

capricious: (1) Exhibit 45, a purported expert declaration of “P. Hill,” AACS App. 1613-44; (2)

Exhibit 42, an Associated Press news article, AACS App. 1597-99; and (3) Exhibit 39, a U.S.

Census Bureau blog post, AACS App. 1539-45. See id. TOC Exs. 39, 42, 45. These items should

be stricken or excluded from the Court’s consideration.1



1
  Plaintiffs Ogle School Management, LLC and Tricoci University of Beauty Culture, LLC
(“Ogle”) did not file an Appendix in conjunction with their Motion for Summary Judgment as
required by Local Civil Rule 56.6. However, their memorandum in support of summary judgment
cites numerous items, including newspaper articles and reports from private organizations and
other agencies, while failing to identify whether the material is part of the AR or move for leave
to introduce extra-record material. See ECF 32 at vii-viii. The same principles described herein
apply, to the extent Ogle relies on extra-record material for its claims under 5 U.S.C. § 706(2)(A).
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                                           ARGUMENT

       In APA cases, summary judgment “serves as the mechanism” for the district court,

“functionally operating as an appellate tribunal,” to decide, as a matter of law, “whether the

[challenged agency] action is supported by the administrative record and otherwise consistent with

the APA standard of review.” Nat’l Ass’n for Gun Rts., Inc. v. Garland, No. 4:23-CV-00830-O,

2024 WL 3517504, at *14 (N.D. Tex. July 23, 2024) (internal quotation omitted). In doing so, the

Court is generally limited to the administrative record. See id. at *15. Indeed, just as plaintiffs may

not raise new arguments that were not raised at the administrative stage, Healthy Gulf v. U.S. Army

Corps of Eng’rs, 81 F.4th 510, 521-22 (5th Cir. 2023); OnPath Fed. Credit Union v. U.S. Dep't of

Treasury, 73 F.4th 291, 298 (5th Cir. 2023), it is well established that they also may not rely on

extra-record material, pursuant to the APA’s direction that courts “review the whole record or

those parts of it cited by a party.” 5 U.S.C. § 706. Under that plain language, “[t]he focal point for

judicial review” of an administrative agency’s action “should be the administrative record already

in existence, not some new record made initially in the reviewing court.” Camp v. Pitts, 411 U.S.

138, 142 (1973); cf. Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985) (court must

“apply the appropriate APA standard of review to the agency decision based on the record the

agency presents to the reviewing court.”). “An agency is entitled to a strong ‘presumption of

regularity, that it properly designated the administrative record.’” Monkey Jungle, Inc. v. SBA, No.

22-cv-2537, 2024 WL 3987016, at *6–7 (D.D.C. Aug. 29, 2024) (citing Transp. Div. of the Int'l

Ass'n of Sheet Metal, Air, Rail & Transp. Workers v. Fed. R.R. Admin., 10 F.4th 869, 878 (D.C.

Cir. 2019)).

       A party wishing to supplement the administrative record typically files a motion requesting

such relief, but such motions “are rarely granted.” OnPath Fed. Credit Union v. U.S. Dep’t of



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Treasury, 73 F.4th 291, 299 (5th Cir. 2023). The Fifth Circuit has emphasized that supplementation

“is not allowed unless the moving party demonstrates ‘unusual circumstances justifying a

departure’ from the general presumption that review is limited to the record compiled by the

agency.’” Id. (quoting Medina Cty. Envtl. Action v. Surface Transp. Bd., 602 F.3d 687, 706 (5th

Cir. 2010)). And the Fifth Circuit has identified only three situations where such unusual

circumstances might be present: “(1) the agency deliberately or negligently excluded documents

that may have been adverse to its decision, . . . (2) the district court needed to supplement the

record with ‘background information’ in order to determine whether the agency considered all of

the relevant factors, or (3) the agency failed to explain administrative action so as to frustrate

judicial review.” Id. (internal quotation omitted).

       Here, although AACS had over four months from the time Defendants filed the

Administrative Record until its summary judgment deadline, it failed to seek supplementation of

the Record, nor does it invoke any basis for supplementation in its summary judgment brief.

Instead, AACS ignores the well-established record rule and freely cites extra-record material

without acknowledging it as such.

       I.      Exhibit 45, Hill Declaration

       In particular, AACS relies heavily on the Hill Declaration to argue that the Department’s

statistical analyses, described in detail in the Preamble to the Final Regulations, are flawed and

that the Department failed to make certain information available for comment during the

rulemaking. E.g., AACS MSJ Mem. [ECF 29] at 34-35. Since the Hill Declaration was signed on

September 13, 2024, nearly a year after the Final Regulations were issued and the same date as

AACS’s summary judgment filing, AACS clearly cannot maintain that the Hill Declaration was

submitted during the rulemaking comment period and was before the Department at the time of its



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decision. The other two extra-record documents that AACS included in its Appendix likewise post-

date the Final Regulations. AACS would need to identify “unusual circumstances” in one of the

categories identified above to justify the Court’s consideration of this material, but it has failed to

do so. The material should be stricken for that reason alone.

       Moreover, the material fits in none of the three categories of “unusual circumstances” that

the Fifth Circuit has identified. Since all three documents were created after the Final Regulations

were issued, they were not deliberately or negligently excluded from the Record by the

Department. Nor has the Department failed to explain the decisions that AACS challenges. Rather,

the Court has already observed that “the Department engaged in thorough rule making,”

responding to comments and providing extensive explanations for its decisions. Order of June 20,

2024, at 9, Ogle Sch. Mgmt., LLC v. U.S. Dep’t of Educ., No. 4:24-cv-259 [ECF 31].

       Nor does the material consist of “background information” necessary “to determine

whether the agency considered all of the relevant factors,” OnPath Fed. Credit Union, 73 F.4th at

299. In its brief, AACS cites Bakewell v. Stephen F. Austin St. Univ., 975 F. Supp. 858, 905 (E.D.

Tex. 1996), as support for the notion that the Hill Declaration identified a flaw in the Department’s

consideration of “multicollinearity” in its regression analysis. AACS MSJ Mem. at 35. However,

Bakewell was not an APA case; it was an employment discrimination case where the opposing

parties each supported the existence or lack of a pattern or practice of discrimination through their

own regression analyses—a standard “battle of the experts” in regular civil litigation. See

Bakewell, 975 F. Supp. at 895.

       In APA review, however, the Court has a different role—to determine whether the

Department’s decision was arbitrary or capricious, while granting “broad discretion” to the

Department’s “choice of statistical techniques.” Cf. Chem. Mfrs. Ass’n v. EPA, 885 F.2d 253, 262



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(5th Cir. 1989). AACS appears to offer Hill as a post hoc statistical expert, but the Department

provided an initial statistical analysis in its Notice of Proposed Rulemaking (“NPRM”), see 88

Fed. Reg. 32300, 32428-33 (May 19, 2023), after similar analyses had been included in prior rules

issued in 2011 and 2014, see 76 Fed. Reg. at 34460-66; 79 Fed. Reg. at 16543; 79 Fed. Reg. at

64910. If AACS had wished to critique the Department’s statistical analysis, it could and should

have raised such issues in public comments during the rulemaking, but it failed to do so.2

       Moreover, Hill describes his specialization “in educational technology strategy and

organizational change management,” with a focus on developing “online and hybrid education

strategies.” Hill Decl. ¶ 3 & cv at 1 [AACS App. 1614, 1642]. Evidently, Hill’s work focuses on

distance learning technology, far afield of the type of analysis described in the Final Regulations.

His curriculum vitae does not identify any peer-reviewed publications involving statistical

analysis, economics, the field of higher education, or any related field. Perhaps as a result, a

Department economist who reviewed Hill’s assessments identified numerous omissions and flaws

in Hill’s analyses and the conclusions drawn therefrom, along with indications that Hill was simply

unfamiliar with regression analyses of the type described in the Final Regulations. See Declaration

of Dr. Rajeev Darolia ¶¶ 8-16. The Department’s economist concluded that Hill’s critiques of the

Department’s regression analyses were wholly unwarranted. Id. ¶¶ 9-13.




2
  The extensive opportunity for public participation provided by, first, the negotiated rulemaking
process, including a series of public hearings, that preceded the Department’s issuance of the
NPRM, and then, the availability of a comment period following the NPRM’s issuance,
distinguishes this case from Nat’l Ass’n for Gun Rights, 2024 WL 3517504, at *15, where the
Court agreed to consider extra-record materials when the agency decision at issue had provided
the public with “no role whatsoever in producing or contributing to the administrative record.” See
88 Fed. Reg. at 32300 (soliciting comments); id. at 32316-17 (describing significant public
participation that had already occurred during the negotiated rulemaking process).
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       Moreover, the Final Regulations themselves already addressed the issues that Hill now

raises. First, the Department explained that its calculations were estimates based on the data

available at the time, so it is not possible to identify with perfect precision how many cosmetology

programs might fail the metrics the first year, much less how many might fail the same metric

twice within a three-year period, as would be necessary before any program is deemed Title IV

ineligible. 88 Fed. Reg. at 70123 (explaining that the data set the Department used for its analysis

(the “2022 PPD”) “necessarily differs from what will be used to evaluate programs under the final

rule in a few ways” because, until additional information is collected pursuant to the Final

Regulations, the Department does not have information in the same form that the Regulations

contemplate). The Department also explained its disagreement with comments suggesting a

widespread negative impact from cosmetology program closures. Id. at 70086 (noting

“commenters did not consider the large numbers of students attending cosmetology schools but

not receiving Federal aid under title IV, HEA, as well as the significant number of cosmetology

schools that do not participate in title IV at all,” and emphasizing that Title IV grants and loans

“are entitlements for students, not institutions of higher education,” and that “a student directing

their limited title IV, HEA aid to a GE program that does not prepare them for gainful employment

in a recognized occupation has lost the opportunity to use those funds to attend a different

educational program that would better serve their goals”).

       Second, the Department addressed its decision to exclude programs with fewer than 30

completers in a cohort period for privacy reasons, but it also explained that it would expand the

cohort period from 2 to 4 years when doing so would allow a program to have enough completers

for the metrics. Id. at 70046. The Department also explained that its revised methodologies would

cover programs enrolling approximately 83% of all students. Id. at 70127 (“The Department



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believes that the coverage of students based on enrollment is sufficiently high to generate

substantial net benefits and government budget savings from the policy” and “that the extent to

which enrollment is covered by the final rule is the appropriate measure on which to focus coverage

analysis on because the benefits, costs, and transfers associated with the policy almost all scale

with the number of students (enrollment or completions) rather than the number of programs”).

Hill uses a flawed “unweighted” approach to mischaracterize the impact of the Department’s

decision, and “ignores that the Department did consider the performance of programs for which

the Department did not have data,” though a separate analysis. See Darolia Decl. ¶ 16.a.

       Third, the Department provided multiple reasons for its conclusion that a program’s

demographics do not sufficiently influence its outcomes under the metrics to warrant any

adjustment. Id. at 70031-32. Its regression analysis was one factor that confirmed that altering the

metrics in an attempt to compensate for demographic characteristics would not be appropriate

because programs and schools play a more important role in determining student outcomes. Hill

simply ignores the several other factors that the Department identified, and his quarrel with the

Department’s regression analyses appears to result from his own misunderstandings. Darolia Decl.

¶¶ 8-13.

       Fourth, the Department addressed comments regarding its proposal to calculate earnings

thresholds by state and explained why Metropolitan Statistical Areas—Hill’s proposed

alternative—are not a superior option and in fact have significant drawbacks, which Hill simply

ignores. 88 Fed. Reg. at 70055 (explaining why the Department viewed commenters’ proposals

along these lines as “a flawed approach”).

       Fifth, the Department addressed the availability of alternative programs. Id. at 70145-51.

Hill’s critique on this point is deeply flawed because he again completely ignores a point the



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Department explained in the Final Regulations—the widespread availability of cosmetology

programs that do not participate in Title IV at all. Id. at 70086. Hill also mischaracterizes the

Department’s analyses by, for example, failing to mention how the Department measured transfer

options in multiple ways and used a variety of methods. Darolia Decl. ¶ 16.b.

       In sum, nothing in the Hill Declaration undermines the reasonableness of the Department’s

conclusions or shows that any aspect of the Department’s decision was arbitrary or capricious.

Indeed, because the Hill Declaration contributes nothing useful to the Court’s consideration, and

in particular does not provide “background information” that could assist the Court in determining

whether the Department considered relevant factors (and instead often ignores relevant factors

itself), it should be stricken or excluded from the Court’s consideration.

       II.     Exhibit 42, AP Article

       The other extra-record material that AACS submitted similarly fails to provide useful

background information. Exhibit 42, the AP article, simply reports on the Department’s issuance

of the Final Regulations and quotes from various statements, such as that of AACS’s executive

director, that would be inadmissible hearsay in a non-APA civil case. See AACS App. 1597-99.

AACS cites the article to support the conclusion that two-thirds of for-profit cosmetology

programs will “fail” the GE Rule’s metrics. See AACS MSJ Mem. at 11 n.7. However, the AP

article simply reports on the Department’s own preliminary analysis, using incomplete data, that

was included in the Preamble. As the Department has explained, those results do not necessarily

reflect cosmetology programs’ actual outcomes once the Department’s revised methodologies are

applied to a complete data set. 88 Fed. Reg. at 70123. Moreover, the Department acknowledged

in the Preamble that some for-profit cosmetology programs might fail the metrics and thoroughly

explained that students in such programs were likely to find more affordable training elsewhere,



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 including in one of the many cosmetology programs that do not participate in Title IV. Id. at 70086.

 The AP article does not identify any factor that the Department failed to consider.

           III.   Exhibit 39, U.S. Census Blog Post

           Finally, Exhibit 39, the U.S. Census blog post, is entirely irrelevant to AACS’s APA

 challenge in this case. AACS mis-quotes the blog post by suggesting it addresses data defects in

 the American Community Survey (“ACS,” the national census). A.Br. at 33 & n.19. It thereby tries

 to undermine the Department’s use of ACS data for purposes of determining median high school

 earnings for the Earnings Premium (“EP”) metric. See id. But in fact, the statement AACS quotes

 does not refer to ACS but to an entirely different survey, the Current Population Survey Annual

 Social and Economic Supplement (“CPS ASEC”), which uses a “substantially different” data

 collection methodology.3 In fact, the blog post in Exhibit 39 describes using ACS data (in

 conjunction with other sources) as a reference in order to analyze potential defects in the CPS

 ASEC data. See AACS App. 1551. The Department thoroughly explained in the Final Regulations

 why it deems ACS data reliable. See 88 Fed. Reg. at 70058 (“The U.S. Census Bureau has

 researched the accuracy of ACS income data and found that income data from the ACS

 corresponds well with administratively reported earnings measures.”). Exhibit 39 fails to provide

 background information or identify any relevant factor that the Department failed to consider in

 the Final Regulations. It should also be stricken or disregarded.

                                          CONCLUSION

           For the foregoing reasons, the Court should strike or exclude from consideration AACS’s

 Exhibits 39, 42, and 45, and all references thereto in its memorandum in support of its summary

 judgment motion.



 3
     https://www.census.gov/topics/income-poverty/poverty/guidance/data-sources/acs-vs-cps.html.
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 DATED: November 8, 2024             Respectfully submitted,

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                                     /s/ Kathryn L. Wyer
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                              CERTIFICATE OF CONFERENCE

        On November 7, 2024, undersigned counsel for Defendants conferred by email with Drew

 T. Dorner, counsel for Plaintiffs American Association of Cosmetology Schools et al. (“AACS”),

 copying other counsel for Plaintiffs in this case, regarding Defendants’ intention to file a motion

 to strike material in their Appendix that is not included in the Administrative Record for this case.

 Mr. Dorner stated AACS’s position that they oppose this motion.

                                               /s/ Kathryn L. Wyer
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